          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 1 of 13




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

DAVID B. TRACEY, et al.,

                               Plaintiffs,
v.                                                          No. 16-cv-11620-NMG

MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, et al.,

                               Defendants.


                            DECLARATION OF JOEL D. ROHLF
I, Joel D. Rohlf, of lawful age, declare as follows:
     1.    I am an attorney with Schlichter Bogard & Denton LLP, the law firm representing

Plaintiffs in this case. I am licensed to practice in all Courts of the District of Columbia, and the

States of Illinois and Missouri and I am admitted to practice in numerous federal courts. If called

as a witness, I could and would competently testify to the facts set forth below as I know them to

be true based on my personal knowledge and review of the records and files maintained by

Schlichter Bogard & Denton in the regular course of its representation of Plaintiffs in this case.

     2.    Attached as Exhibit P1 is a true and correct excerpts of the deposition of Michael

Howard taken on March 15, 2019.

     3.    Attached as Exhibit P2 is a true and correct copy of a letter to John Rice dated

September 14, 1998, produced by Defendants as MIT-0002551.

     4.    Attached as Exhibit P3 is a true and correct excerpts of the deposition of Theresa

Stone taken on November 15, 2018.

     5.    Attached as Exhibit P4 is a true and correct copy of a compilation of the Trust

Agreement between Massachusetts Institute of Technology and Fidelity Management Trust

Company with Amendments thereto.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 2 of 13




    6.     Attached as Exhibit P5 is a true and correct copy of a compilation of the Amended and

Restated Recordkeeping Agreement between Massachusetts Institute of Technology and Fidelity

Investments Institutional Operations Company, Inc. with Amendments thereto.

    7.     Attached as Exhibit P6 is a true and correct copy of an e-mail from Mark Lofgren to

David Chused, et al. dated February 21, 2012, produced by Defendants as MIT-0150261.

    8.     Attached as Exhibit P7 is a true and correct excerpts of the deposition of Israel Ruiz

taken on November 27, 2018.

    9.     Attached as Exhibit P8 is a true and correct copy of an e-mail from Julienne M. Dean

to John Harrington, et al. dated May 27, 2010, produced by third party Fidelity as

FIDELITY002154.

    10.    Attached as Exhibit P9 is a true and correct copy of a presentation regarding Proposed

Investment Lineup Changes, produced by third party Mercer as MERCER 000582.

    11.    Attached as Exhibit P10 is a true and correct excerpts of the deposition of Martin

Kelly taken on November 9, 2018.

    12.    Attached as Exhibit P11 is a true and correct copy of a compilation of the meeting

minutes of the MIT Supplemental 401(k) Oversight Committee, produced by Defendants.

    13.    Attached as Exhibit P12 is a true and correct excerpts of the deposition of Liana

Magner taken on November 27, 2018.

    14.    Attached as Exhibit P13 is a true and correct copy of website printout of Strategic

Sourcing from MIT’s website.

    15.    Attached as Exhibit P14 is a true and correct copy of website printout of MIT Policies,

7.9 Procurement Policy on Gifts and Gratuities from MIT’s website.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 3 of 13




    16.    Attached as Exhibit P15 is a true and correct copy of a Memorandum to Maureen

Ratigan, et al, produced by Defendants as MIT-0139855.

    17.    Attached as Exhibit P16 is a true and correct copy of an e-mail from Jennifer Eller to

David Chused, et al dated October 18, 2010, produced by Defendants as MIT-0150288. Filed

under seal.

    18.    Attached as Exhibit P17 is a true and correct copy of the MIT Supplemental 401(k)

Plan Disclosure, produced by Defendants as MIT-0006303.

    19.    Attached as Exhibit P18 is a true and correct copy of the MIT Supplemental 401(k)

Plan Participant Disclosure Notice, produced by Defendants as MIT-0006405.

    20.    Attached as Exhibit P19 is a true and correct copy of an e-mail from Kenneth Davies

to David Chused, produced by Defendants as MIT-0132789.

    21.    Attached as Exhibit P20 is a true and correct excerpts of the deposition of David

Chused taken on November 16, 2018.

    22.    Attached as Exhibit P21 is a true and correct excerpts of the deposition of Maureen

Ratigan taken on November 15, 2018.

    23.    Attached as Exhibit P22 is a true and correct copy of an e-mail from Kenneth Davies

to Glenn Ellison, et al, dated September 23, 2014, produced by Defendants as MIT-0010892.

    24.    Attached as Exhibit P23 is a true and correct copy of a 2014 Screenshot of Investment

Election on Website, produced by Defendants as MIT-0010893.

    25.    Attached as Exhibit P24 is a true and correct copy of letter to participants in the MIT

Supplemental 401(k) Plan, produced by Defendants as MIT-0118876.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 4 of 13




    26.    Attached as Exhibit P25 is a true and correct copy of a Supplemental 401(k) Plan

Investment Restructure Interview, Preliminary Interview Results, produced by Defendants as

MIT-0133535.

    27.    Attached as Exhibit P26 is a true and correct excerpts of the deposition of Alison

Alden taken on January 24, 2019.

    28.    Attached hereto as Exhibit P27 is a true and correct copy of an e-mail from Kenneth

Davies to David Chused, dated September 13, 2012, produced by Defendants as MIT-0151009.

Filed under seal.

    29.    Attached as Exhibit P28 is a true and correct copy of a presentation entitled

Community Feedback on the Proposal to Streamline the 401(k) Plan Investment Line-Up,

produced by Defendants as MIT-0115701.

    30.    Attached as Exhibit P29 is a true and correct copy of an e-mail from Tom Wieand to

Maureen Ratigan, et al, dated September 21, 2014, produced by Defendants as MIT-0144120.

    31.    Attached as Exhibit P30 is a true and correct copy of a presentation entitled Executive

Summary – MIT Supplemental 401(k) Plan Oversight Committee by Fidelity, produced by

Defendants as MIT-0000753.

    32.    Attached as Exhibit P31 is a true and correct copy of an e-mail from Maureen Ratigan

to Kenneth Davies, dated February 5, 2014, produced by Defendants as MIT-0012776.

    33.    Attached as Exhibit P32 is a true and correct copy of an e-mail from John Harrington

to Jean Samuelson, dated July 1, 2010, produced by third party Fidelity as FIDELITY003158.

    34.    Attached as Exhibit P33 is a true and correct copy of an e-mail from Maureen Ratigan

to Israel Ruiz, et al, dated August 2, 2013, produced by Defendants as MIT-0121800.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 5 of 13




    35.    Attached as Exhibit P34 is a true and correct copy of a calendar entry for a meeting of

the June 401(k) Subcommittee Meeting and attached meeting materials, produced by

Defendants as MIT-0151037.

    36.    Attached as Exhibit P35 is a true and correct copy of an e-mail from John Harrington

to Jean Samuelson, et al. dated May 11, 2010, produced by third party Fidelity as

FIDELITY002661.

    37.    Attached as Exhibit P36 is a true and correct copy of a web-site print out of the MIT

Corporation of Theresa M. Stone.

    38.    Attached as Exhibit P37 is a true and correct copy of a web-site print out of the MIT

Corporation of Abigail P. Johnson.

    39.    Attached as Exhibit P38 is a true and correct copy of the MIT Faculty Newsletter,

dated November/December 2009, produced by Defendants as MIT-0143623.

    40.    Attached as Exhibit P39 is a true and correct copy of a Memorandum to the Executive

Committee of the MIT Corporation, dated May 24, 2014, produced by Defendants as MIT-

0002555. Filed under seal.

    41.    Attached as Exhibit P40 is a true and correct copy of an e-mail from John Harrington

to Jean Samuelson, dated January 13, 2011, produced by third party Fidelity as

FIDELITY002924.

    42.    Attached as Exhibit P41 is a true and correct excerpts of the deposition of Wendy

Dominguez taken on June 21, 2019.

    43.    Attached as Exhibit P42 is a true and correct copy of an e-mail to Alison Alden, et al,

produced by Defendants as MIT-0133533. Filed under seal.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 6 of 13




    44.    Attached as Exhibit P43 is a true and correct copy of a slide entitled MIT 401(k) Plan

Investment Restructure Project Plan, produced by Defendants as MIT-0001996.

    45.    Attached as Exhibit P44 is a true and correct excerpts of the deposition of Russell

Wermers taken on July 1, 2019.

    46.    Attached as Exhibit P45 is a true and correct excerpts of the deposition of John

Harrington taken on November 29, 2018.

    47.    Attached as Exhibit P46 is a true and correct copy of an e-mail from John Harrington

to Jean Samuelson, et al. dated April 9, 2011, produced by third party Fidelity as

FIDELITY000852.

    48.    Attached as Exhibit P47 is a true and correct copy of the Investment Policy Statement,

produced by Defendants as MIT-0150865.

    49.    Attached as Exhibit P48 is a true and correct copy of a presentation entitled

Supplemental 401(k) Plan Subcommittee Meeting dated June 16, 2010, produced by Defendants

as MIT-0150880.

    50.    Attached as Exhibit P49 is a true and correct copy of the Corrected Expert Report of

Dr. Gerald Buetow. Filed under seal.

    51.    Attached as Exhibit P50 is a true and correct copy of a presentation entitled

Investment Window Review dated October 6, 2010, produced by Defendants as MIT-0000904.

    52.    Attached as Exhibit P51 is a true and correct copy of a presentation by Fiduciary

Investment Advisors, LLC dated October 2010, produced by Defendants as MIT-0000872.

    53.    Attached as Exhibit P52 is a true and correct copy of a presentation by Captrust,

produced by Defendants as MIT-0115944.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 7 of 13




    54.    Attached as Exhibit P53 is a true and correct excerpts of the deposition of Steve

Gissiner taken on July 2, 2019.

    55.    Attached as Exhibit P54 is a true and correct excerpts of the deposition of Glenn

Ellison taken on November 30, 2018.

    56.    Attached as Exhibit P55 is a true and correct copy of a presentation by Mercer, First

Quarter 2011, Defined Contribution Performance Evaluation, produced by Defendants as MIT-

0003590.

    57.    Attached as Exhibit P56 is a true and correct copy of Investment Option changes to the

MIT Supplemental 401(k) Plan, produced by Defendants as MIT-0135679.

    58.    Attached as Exhibit P57 is a true and correct excerpts of the deposition of Jean

Samuelson taken on January 29, 2019.

    59.    Attached as Exhibit P58 is a true and correct copy of MIT 401(k) Investment

Oversight Committee Resolution to Change Plan Investment Options, dated January 20, 2015,

produced by Defendants as MIT-0000553.

    60.    Attached as Exhibit P59 is a true and correct copy of an e-mail from Jean Samuelson

to John Harrington, et al. dated April 20, 2011, produced by third party Fidelity as

FIDELITY002758.

    61.    Attached as Exhibit P60 is a true and correct copy of the 2011 Form 5500 of the MIT

Supplemental 401(k) Plan, produced by Defendants as MIT-0015103.

    62.    Attached as Exhibit P61 is a true and correct copy of an e-mail from Jean Samuelson

to John Harrington, et al. dated May 17, 2011, produced by third party Fidelity as

FIDELITY002750.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 8 of 13




    63.    Attached as Exhibit P62 is a true and correct copy of an e-mail from Jill Walker to

Kenneth Pitman, et al. dated July 26, 2016, produced by third party Mercer as MERCER 000002.

    64.    Attached as Exhibit P63 is a true and correct copy of an e-mail from John Harrington

to Ken Davies, et al. dated November 8, 2012, produced by third party Fidelity as

FIDELITY001053.

    65.    Attached as P64 is a true and correct copy of excerpts from the book Managing

Investment Portfolios.

    66.    Attached as Exhibit P65 is a true and correct copy of an e-mail from Kenneth Davies

to Maureen Ratigan, et al, dated August 14, 2012, produced by Defendants as MIT-0134160.

Filed under seal.

    67.    Attached as P66 is a true and correct copy of excerpts from the book The Management

of Investment Decisions.

    68.    Attached as P67 is a true and correct copy of Mercer’s DC Fee Management –

Mitigating Fiduciary Risk and Maximizing Plan Performance.

    69.    Attached as Exhibit P68 is a true and correct copy of a presentation by Mercer, MIT

401(k) Plan – Fund Selection Subcommittee, Fund Selection Process dated February 25, 2014,

produced by Defendants as MIT-0123127.

    70.    Attached as Exhibit P69 is a true and correct copy of a presentation by Mercer, 401(k)

Plan Governance, Understanding Fiduciary Responsibility, dated December 12, 2012, produced

by Defendants as MIT-0005144.

    71.    Attached as Exhibit P70 is a true and correct copy of an e-mail from Amy Magiera to

Liana Magner, et al. dated November 1, 2012, produced by third party Mercer as MERCER

033765.
          Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 9 of 13




    72.    Attached as Exhibit P71 is a true and correct copy of an e-mail from Kenneth Davies

to Tom Wieand, et al, dated February 9, 2014, produced by Defendants as MIT-0016809.

    73.    Attached as Exhibit P72 is a true and correct copy of Notes from call with Mike Liana

and Jill from February 25, 2014, produced by Defendants as MIT-0123075.

    74.    Attached as Exhibit P73 is a true and correct copy of a presentation by Mercer entitled

Investment Monitoring Best Practices, dated July 22, 2015, produced by Defendants as MIT-

0002525.

    75.    Attached as Exhibit P74 is a true and correct copy of an e-mail from Michael W.

Howard to Israel Ruiz, dated April 11, 2014, produced by Defendants as MIT-0122074.

    76.    Attached as Exhibit P75 is a true and correct copy of an e-mail from Kenneth Davies

to David Chused, et al, dated July 14, 2015, produced by Defendants as MIT-0127200. Filed

Under Seal.

    77.    Attached as Exhibit P76 is a true and correct copy of an e-mail from Maureen Ratigan

to Israel Ruiz, et al, dated October 14, 2014, produced by Defendants as MIT-0022668.

    78.    Attached as Exhibit P77 is a true and correct copy of an e-mail from David

Schmittlein to Israel Ruiz, et al, dated March 24, 2015, produced by Defendants as MIT-

0122530.

    79.    Attached as Exhibit P78 is a true and correct excerpts of the deposition of Linda

Delivorias taken on February 15, 2019.

    80.    Attached as Exhibit P79 is a true and correct copy of the 2013 Form 5500 of the MIT

Supplemental 401(k) Plan, produced by Defendants as MIT-0114910.
       Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 10 of 13




    81.   Attached as Exhibit P80 is a true and correct copy of a document titled MIT 401(k)

Funds ranked by Assets Under Management as of March 30, 2012, produced by Defendants as

MIT-0001682.

    82.   Attached as Exhibit P81 is a true and correct copy of a template Investment Policy

Statement, produced by Defendants as MIT-0127201.

    83.   Attached as Exhibit P82 is a true and correct copy of a document titled Investment

Window Quantitative Screen, produced by Defendants as MIT-0005213.

    84.   Attached as Exhibit P83 is a true and correct copy of Appendix A, New Investment

Lineup, produced by Defendants as MIT-0002470.

    85.   Attached as Exhibit P84 is a true and correct copy of an e-mail from John Harrington

to Michael Maglieri, et al. dated March 15, 2013, produced by third party Fidelity as

FIDELITY000593.

    86.   Attached as Exhibit P85 is a true and correct copy of an e-mail from John Ragnoni to

Terry Stone, dated June 15, 2010, produced by third party Fidelity as FIDELITY003174.

    87.   Attached as Exhibit P86 is a true and correct excerpts of the deposition of Gerald

Buetow taken on June 18, 2019.

    88.   Attached as Exhibit P87 is a true and correct copy of a compilation of Fee

Transparencies.

    89.   Attached as Exhibit P88 is a true and correct copy of an e-mail from Maureen Ratigan

to Kenneth Davies, et al, dated March 11, 2013, produced by Defendants as MIT-0013765. Filed

under seal.

    90.   Attached as Exhibit P89 is a true and correct copy of a website printout, FAQS:

Uniform Guidance Procurement Standards – Effective July 1, 2018.
       Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 11 of 13




    91.   Attached as Exhibit P90 is a true and correct copy of an e-mail from Jean Samuelson

to Deb Matthews, dated June 10, 2010, produced by third party Fidelity as FIDELITY002144.

    92.   Attached as Exhibit P91 is a true and correct copy of an e-mail from David Chused to

Maureen Ratigan, et al, dated November 18, 2013, produced by Defendants as MIT-0130151.

Filed under seal.

    93.   Attached as Exhibit P92 is a true and correct copy of an e-mail from John Harrington

to Kenneth Davies, et al, dated July 9, 2015, produced by Defendants as MIT-0008653.

    94.   Attached as Exhibit P93 is a true and correct copy of an e-mail from Jean Samuelson

to John Harrington, dated June 10, 2010, produced by third party Fidelity as FIDELITY003176.

    95.   Attached as Exhibit P94 is a true and correct copy of a presentation by Groom Law

Group to the Investment Committee, dated October 2009, produced by Defendants as MIT-

0123618. Filed under seal.

    96.   Attached as Exhibit P95 is a true and correct copy of the Investment Window,

Discussion Document, dated May 20, 2010, produced by Defendants as MIT-0007044.

    97.   Attached as Exhibit P96 is a true and correct copy of an agenda of a meeting with the

Subcommittee dated June 16, 2010, produced by Defendants as MIT-0149863.

    98.   Attached as Exhibit P97 is a true and correct copy of an e-mail from Alison Alden to

Maureen Ratigan, et al, dated May 1, 2012, produced by Defendants as MIT-0150412.

    99.   Attached as Exhibit P98 is a true and correct copy of an e-mail from David Chused to

Maureen Ratigan, dated June 15, 2012, produced by Defendants as MIT-0150516.

    100. Attached as Exhibit P99 is a true and correct copy of an e-mail from John Harrington

to Linda Delivorias, et al, dated April 30, 2013, produced by third party Fidelity as

FIDELITY000536.
       Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 12 of 13




    101. Attached as Exhibit P100 is a true and correct copy of an e-mail from Deb Matthews

to Geri Carroll, dated March 10, 2010, produced by third party Fidelity as FIDELITY002266.

    102. Attached as Exhibit P101 is a true and correct excerpts of the deposition of Corrine

Fogg taken on November 15, 2018.

    103. Attached as Exhibit P102 is a true and correct copy of an e-mail from John Harrington

to Kenneth Davies, dated February 21, 2014, produced by Defendants as MIT-0012702.

    104. Attached as Exhibit P103 is a true and correct copy of an e-mail from Maureen

Ratigan to Pauline Dowell, et al, dated March 6, 2014, produced by Defendants as MIT-

0130070. Filed under seal.

    105. Attached as Exhibit P104 is a true and correct copy of an e-mail from Maureen

Ratigan to Israel Ruiz, et al, dated May 6, 2014, produced by Defendants as MIT-0139856.

    106. Attached as Exhibit P105 is a true and correct copy of a fund mapping document,

produced by Defendants as MIT-0002493.

    107. Attached as Exhibit P106 is a true and correct copy of an e-mail from Kenneth Davies

to Michael Howard, et al, dated April 12, 2013, produced by third party Mercer as Mercer

001458.

    108. Attached as Exhibit P107 is a true and correct excerpts of the deposition of Martin

Schmidt taken on June 28, 2019.

    109. Attached as Exhibit P108 is a true and correct copy of the Minutes of the MIT

Executive Committee, dated September 4, 1998, produced by Defendants as MIT-0006788.

    110. Attached as Exhibit P109 is a true and correct copy of an e-mail from Maureen

Ratigan to Denise Donnelly, et al, dated April 16, 2015, produced by Defendants as MIT-

019828.
       Case 1:16-cv-11620-NMG Document 225 Filed 08/05/19 Page 13 of 13




    111. Attached as Exhibit P110 is a true and correct copy of the 2009 Form 5500 of the MIT

Supplemental 401(k) Plan, produced by Defendants as MIT-0118692.

    112. Attached as Exhibit P111 is a true and correct copy of the 2016 Form 5500 of the MIT

Supplemental 401(k) Plan.

    113. Attached as Ex. P112 is a true and correct copy of the 2013 Recordkeeping Survey –

Industry Snapshot, PlanSponsor (June 2013), available at

https://www.plansponsor.com/research/2013-recordkeeping-survey/2/.

    114. Attached as Ex. P113 is a true and correct copy of the 2016 Recordkeeping Survey –

Industry Snapshot, PlanSponsor (June 2016), https://www.plansponsor.com/research/2013-

recordkeeping-survey/2/.

    115. Attached as Exhibit P114 is a true and correct copy of an e-mail from Jean Samuelson

to John Harrington, dated June 25, 2010, produced by third party Fidelity as FIDELITY003169.

    116. Attached as Exhibit P115 is a true and correct copy of the 2012 Form 5500 of the MIT

Supplemental 401(k) Plan, produced by Defendants as MIT-0015316.

    I declare under penalty of perjury that the foregoing is true and correct.

Executed on August 5, 2019.

                                                                      /s/ Joel D. Rohlf
                                                                     Joel D. Rohlf
